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Notice of Appeal Criminal Rev. 3/88
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United States District Court for the District of Columbia

UNITED STATES OF AMERICA )
)
vs. ) Criminal No. 21-CR-0105-JMC
) :
HENRY PHILLIP MUNTZER y
NOTICE OF APPEAL
Name and address of appellant: Henry Phillip Muntzer

115 S. Atlantic Street
Dillon, Montana 59725

Name and address of appellant’s attorney: Christopher M. Davis
1350 Connecticut Ave., NW
Suite 202
Washington, DC 20036

Offense: 18 USC §231(a)(3); 18 USC §1752(a)(1) & (a)(2); 40 USC § 5104(e)(2)(D) & (e)(2)(G)
Concise statement of judgment or order, giving date, and any sentence:

On October 10 Defendant was sentenced to a total of 24 months incarceration followed
by 1 year supervised release

Name and institution where now confined, if not on bail: n/a

I, the above named appellant, hereby appeal to the United States Court of Appeals for the
District of Columbia Circuit from the above-stated judgment.

JO-[1- ZY HKwb Wt End)
DATE APPELLANT C >
Ce . FOR APPELLANT
GOVT. APPEAL, NO FEE
CJA, NO FEE wv

PAID USDC FEE
PAID USCA FEE

Does counsel wish to appear on appeal? Yes[_| NO
Has counsel ordered transcripts? Yes|_| NO
Is this appeal pursuant to the 1984 Sentencing Reform Act? YES T noy4 os

